                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                           ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                         56 Forsyth Street, N.W.
                                         Atlanta, Georgia 30303

David J. Smith                                                                   For rules and forms visit
Clerk of Court                                                                   www.ca11.uscourts.gov


                                       January 08, 2024

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Appeal Number: 22-13616-P
Case Style: Anthony Mungin v. Secretary, Florida Department of Corrections, et al
District Court Docket No: 3:06-cv-00650-BJD-JBT

The enclosed order has been ENTERED.

Electronic Filing
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                                                                   MOT-2 Notice of Court Action
